                                                     ORDERED ACCORDINGLY.


                                                     Dated: January 5, 2023




                                                     _________________________________
                                                     Brenda K. Martin, Bankruptcy Judge




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